  Case 3:10-cr-00354-CCC       Document 261      Filed 09/01/11    Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 10-0354CCC
 1) NELSON ALVAREZ-MENDOZA
 Counts 1, 2, 3, 5, and 6-12
 2) MELQUIADES ALVAREZ-MENDOZA
 Counts 1, 2 and 4
 3) NELMIC DE-LA-CRUZ-RAPOSO
 Counts 7, 8, 14, 15, 16, 18, 19, 20, 22, 23,
 24, 26, 27, 28, 29, 30 and 31
 4) WALFRIDO ENRIQUE PRIETO-NEGRON
 Counts 10, 11 and 13
 5) ALEX O. CORDERO-CORTEZ
 a/k/a Omar de-la-Cruz
 Counts 14, 15, 17, 29, 30, and 32
 6) BILLY HERNANDEZ
 Counts 18, 19 and 21
 7) CHRISTIAN A. NUNEZ-REVERON
 a/k/a Kelvin Nunez
 Counts 22, 23 and 25
 8) FREDRICK SANTOS-ORTIZ
 a/k/a Roberto Ortega
 Counts 26, 27 and 28
 Defendants


                                       ORDER

       Having considered the Report and Recommendation filed on August 29, 2011
(docket entry 254) on a Rule 11 proceeding of defendant Nelson Alvarez-Mendoza (1) held
before U.S. Magistrate Judge Camille L. Vélez-Rivé on August 26, 2011, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant Nelson Alvarez-Mendoza (1) is accepted. The Court FINDS that his plea was
voluntary and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contains all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since August 26, 2011.        The sentencing hearing is set for
December 1, 2011 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on August 31, 2011.


                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
